                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 UNITED STATES OF AMERICA,                             )
                                                       )
                        Plaintiff,                     )
                                                       )     No. 3:05-CR-124
 V.                                                    )    (JORDAN/GUYTON)
                                                       )
 MARCUS WALLACE SIMS, JR.,                             )
                                                       )
                        Defendant.                     )


                 ORDER ADOPTING REPORT AND RECOMMENDATION

                A Report And Recommendation relative to the fee request of attorney Charles I.

 Poole has been forwarded to the undersigned recommending that this case be certified as

 “extended”, under the applicable regulations for payment of appointed counsel. Attorney Poole was

 appointed as counsel for the defendant Marcus Wallace Sims, Jr. pursuant to the Criminal Justice

 Act (18 U.S.C. § 3006A).

                The Court agrees with the Report And Recommendation and hereby ADOPTS the

 same. This Order Adopting The Report And Recommendation, along with a copy of the Report And

 Recommendation approved by the undersigned, shall be forwarded to the United States Court of

 Appeals for the Sixth Circuit, to the attention of the Chief Judge of the Circuit or his designee.

                IT IS SO ORDERED.

                                                 ENTER:


                                                       s/ Leon Jordan
                                                 United States District Judge




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